Case 2:03-cr-20336-.]P|\/| Document 92 Filed 07/05/05 P=age 1 of 2 Page|D 132

o.o.
1N THE uNlTED sTATEs DisTRicT counT M BY - »
Fon THE wEsTERN olsTaicT oF TENNESSED§ JuL _5 F“ 33 m

WESTERN DlV|S|ON
“ `u.s.i)stitct%

 

uNITED sTATEs oF AMERioA, -- w gm imm
Plaintift, l
VS. CR. NO. 03-20336-|\/1|
ROBERT K|MBREL,
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT\NG

 

This cause came on for a suppression hearing/report date on July 1, 2005. At that
time ruling on the motion to suppress was taken under advisement, and the July 5, 2005
trial date was continued in order to allow for review of transcripts and any subsequent
pending motions.

The Court reset the trial date to August 1 , 2005 with a report date ot Friday, July
Q,__ZLS. at 9:00 a.m., in Courtroom 4. 9th Floor ot the Federal Building, Memphis, TN.

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(iv) because the ends ot justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

iT is so oaDERED this §Q day of July, 2005.

r>é WOLQQ.A

JON H|PPS MC CALLA
l UN| D STATES D|STR|CT JUDGE

 

This document entered on the

dec
with sure 55 and/or 32(b) FHC ket Shag '," °°’"p"a"°e

fP on 715 0

99

    
 

UN1TED sETATS D1STR1CT COURT - WETERS DISTR1CT TENNESSEE

 
 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 92 in
case 2:03-CR-20336 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

Memphis7 TN 38111

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

